                          Case 19-20273 Document 1 Filed in TXSB on 06/11/19 Page 1 of 13

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RJL Entertainment, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Club Cheetah
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6425 South Padre Island Drive                                   924 Leopard
                                  Corpus Christi, TX 78412                                        Corpus Christi, TX 78401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Nueces                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    RJL Entertainment, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   RJL Entertainment, Inc.                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    RJL Entertainment, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 10, 2019
                                                  MM / DD / YYYY


                             X   /s/ Richard A. Conlon                                                    Richard A. Conlon
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Nathaniel Peter Holzer                                                Date June 10, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Nathaniel Peter Holzer
                                 Printed name

                                 Jordan, Holzer & Ortiz, P.C.
                                 Firm name

                                 500 North Shoreline Blvd.
                                 Suite 900
                                 Corpus Christi, TX 78401
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     361.884.5678                  Email address      pholzer@jhwclaw.com

                                 00793971 TX
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         RJL Entertainment, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 10, 2019                           X /s/ Richard A. Conlon
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard A. Conlon
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name RJL Entertainment, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Beck Family, Ltd.               Richard Beck                                                                                                                             $73,000.00
 132 Alexandria
 La Vernia, TX 78121
                                 361.960.4843
 Chaves, Douglas                 Douglas Chaves                 Attorney's fees                                                                                               $775.00
 Chaves, Obregon &
 Perales                         dchaves@coplawfi
 802 N. Carancahua,              rm.com
 Ste. 1200                       361.884.5400
 Corpus Christi, TX
 78401
 McKibben, Martinez,             Lane Jarvis                    Attorney's fees                                                                                           $29,211.51
 Jarvis & Wood, LLP
 Attn: Lane K.                   ljarvis@mcv-law.co
 Jarvis, Jr.                     m
 555 N. Carancahua,              361.882.661
 Ste. 1100
 Corpus Christi, TX
 78401-0841
 Pro Audio Video                                                Goods and/or                                                                                                $5,000.00
 Solutions                                                      Services
 4833 Saratoga Blvd.,
 #262
 Corpus Christi, TX
 78413
 South Texas                                                    Goods and/or                                                                                              $10,000.00
 Universal Svc                                                  Services
 3137 Boar Thicket
 Dr.
 Corpus Christi, TX
 78414
 Texas Comptroller               Aurora Vasquez                 Taxes                   Contingent                                                                    $3,000,000.00
 of Public Accounts                                                                     Unliquidated
 Revenue                                                                                Disputed
 Accounting/Bankrup              361.882.1234 ext.                                      Subject to
 tcy Section                     40835                                                  Setoff
 P.O. Box 13528
 Austin, TX 78711

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                               United States Bankruptcy Court
                                                                      Southern District of Texas
 In re      RJL Entertainment, Inc.                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Conlon, Richard                                                                      50%                                        Ownership



 Wood, James                                                                          50%                                        Ownership



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 10, 2019                                                          Signature /s/ Richard A. Conlon
                                                                                            Richard A. Conlon

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      RJL Entertainment, Inc.                                                                 Case No.
                                                                                 Debtor(s)          Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 10, 2019                                            /s/ Richard A. Conlon
                                                                      Richard A. Conlon/President
                                                                      Signer/Title




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    American Bank
    P.O Box 6469
    Corpus Christi, TX 78466-6469




    Beck Family, Ltd.
    132 Alexandria
    La Vernia, TX 78121




    Chaves, Douglas
    Chaves, Obregon & Perales
    802 N. Carancahua, Ste. 1200
    Corpus Christi, TX 78401



    Ganoe, Daniel, next friend of M.G. minor
    Rep of Estate of L. Reynolds
    c/o Thomas J. Henry
     521 Starr Street
    Corpus Christi, TX 78401


    Ganoe, Daniel, next friend of M.G. minor
    Rep of Estate of L. Reynolds
    c/o Tate Sanders
     521 Starr Street
    Corpus Christi, TX 78401


    Ganoe, Daniel, next friend of M.G. minor
    Rep of Estate of L. Reynolds
    c/o Nicole D. Meyer
     521 Starr Street
    Corpus Christi, TX 78401


    Ganoe, Daniel, next friend of M.G. minor
    Rep of Estate of L. Reynolds
    c/o John D. Schroeder
     521 Starr Street
    Corpus Christi, TX 78401


    Ganoe, Daniel, next friend of M.G. minor
    Rep of Estate of L. Reynolds
    c/o Chirag N. Desai
     521 Starr Street
    Corpus Christi, TX 78401
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Green, Kenneth
c/o Ira Z. Miller
545 N. Upper Broadway, Ste. 114
Corpus Christi, TX 78401



Herrman & Herrman
Neely E. Balko
1201 Third Street
Corpus Christi, TX 78404



Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346
Philadelphia, PA 19101-7346



Lazarte, Frank
924 Leopard Street
Corpus Christi, TX 78401




Martinez, Arnold, Invidually A/N/F
Tiffany Martinez & Drew Martinez
c/o Sassin Law Firm
18170 Dallas Parkway, Ste. 501
Dallas, TX 75287


McKibben, Martinez, Jarvis & Wood, LLP
Attn: Lane K. Jarvis, Jr.
555 N. Carancahua, Ste. 1100
Corpus Christi, TX 78401-0841



Pro Audio Video Solutions
4833 Saratoga Blvd., #262
Corpus Christi, TX 78413




South Texas Universal Svc
3137 Boar Thicket Dr.
Corpus Christi, TX 78414
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Texas Comptroller of Public Accounts
Revenue Accounting/Bankruptcy Section
P.O. Box 13528
Austin, TX 78711



Texas Workforce Commission
Bankruptcy Unit, Room 556
101 E. 15th Street
Austin, TX 78778-0001



Trujillo, Osmel & Montes, Geovany
c/o Thomas J. Henry
Leslie V. Rodriguez
521 Starr Street
Corpus Christi, TX 78401


Vinson, Justin
c/o Rich Fancher & Jacqueline Franklin
Baker & Fancher, LLP
555 N. Carancahua, , Ste. 1200
Corpus Christi, TX 78401


Ward, Gene
Cotton, Schmidt LP
P.O. Box 780
Corpus Christi, TX 78403-0780
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